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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                      TYLER DIVISION

   UNITED STATES OF AMERICA                           §
                                                      §
                                                      §          CASE NO. 6:18-CR-30-JDK
   vs.                                                §
                                                      §
                                                      §
   VICTOR WALLYN CAMPBELL (2)                         §
                                                      §

                 ORDER ADOPTING REPORT AND RECOMMENDATION
                    ON REVOCATION OF SUPERVISED RELEASE

         The Court referred a petition alleging violations of supervised release conditions to United

 States Magistrate Judge K. Nicole Mitchell at Tyler, Texas, for consideration pursuant to

 applicable laws and orders of this Court. The Court has received and considered the Report of the

 United States Magistrate Judge filed pursuant to such order, along with the record, pleadings, and

 all available evidence.

         At the close of the September 21, 2021 revocation hearing, Defendant and defense counsel

 signed a standard form waiving the right to object to the proposed findings and recommendations

 contained in the United States Magistrate Judge’s Report, consenting to revocation of supervised

 release and consenting to the imposition of the sentence recommended in the Report. Counsel for

 the government orally waived the right to object to the Report. Defendant also waived his right to

 be present and speak before the District Judge imposes the recommended sentence. Therefore, the

 Court may act on the Report and Recommendation immediately.

         Accordingly, the findings of fact and conclusions of law of the Magistrate Judge are correct

 and the Report of the Magistrate Judge is ADOPTED. It is therefore




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        ORDERED that Defendant’s plea of true to Allegation 1 in the petition is ACCEPTED.

 Based upon Defendant’s plea of true to Allegation 1 in the petition, the Court finds that Defendant

 violated the conditions of his supervised release. It is further

        ORDERED that Victor Wallyn Campbell’s supervised release is REVOKED. Judgment

 and commitment will be entered separately, in accordance with the Magistrate Judge’s

 recommendations. It is finally

        ORDERED that Defendant be committed to the custody of the Bureau of Prisons for a

 term of imprisonment of 12 months and 1 day with no further supervised release. The Court

 recommends service of sentence at FMC Ft. Worth.

         So ORDERED and SIGNED this 23rd day of September, 2021.



                                                    ___________________________________
                                                    JEREMY D. KERNODLE
                                                    UNITED STATES DISTRICT JUDGE




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